EXHIBIT J
             LAWS
                 OF THE


STATE OF NEW YORK
              PASSED AT THE

 ONE HUNDRED AND NINETIETH
          SESSION
                 OF THE

        LEGISLATURE
 CONVENED JANUARY FOURTH AND
    ADJOURNED APRIL SECOND

                  1967

         AT THE CITY OF ALBANY
  ALSO OTHER MATTERS REQUIRED BY LAW
 TO BE PUBLISHED WITH THE SESSION LAWS



              VOLUME I




                ALBANY
                  1967
986                     LAWS OF N E W YORK,      1967                     [C HA P.

compensation to the state, all the right, title and interest of the
state of New York in and to the land described in section two of
this act. Conveyance of said land shall be made upon such terms
and conditions including consideration as the commissioner of gen-
eral services may fix and determine.
   § 2. The land to be conveyed pursuant to this act is a portion of
the following described lands: Town of Middletown, Lot 297, Tax
Map or* Page 7 acquired by the State following the State Comp-
trollers Tax Sales of 1885 and 1890. Said land is designated as Lot
23, Block 634, Section 3 on the Tax Maps of Richmond County and
Was a portion of the premises conveyed to Albert Lindsey and Lena
Lindsey, by the City of New York by deed dated October 28,
1955, and recorded in the Richmond County Clerk's Office on
November 4, 1955 in Liber 1333 at page 80.
  § 3. The commissioner of general services shall not grant the
aforesaid land unless application is made therefor within one year
after the time this act takes effect.
  § 4. This act shall take effect immediately.



                           CHAPTER 294T
AN ACT to amend the labor law, m relation to certain technical corrections

Became a law April 18, 1967, with th e approval of the Governor. Passed by
                a majority vote, three-fifths being present

  The People of the Slate of New York, represented      in Senate   and   Assembly,
do enact as follows:

   Section 1. Paragraph c of subdivision one of section one hun-
dred thirty-three of the labor law, as added by chapter nine hun-
dred seventy-five of the laws of nineteen hundred sixty-six, is hereby
amended to read as follows:
  e. the operation of washing, grinding, cutting, slicing, pressing
or mixing machinery^.];
   § 2. Subdivision one of section one hundred thirty-three of such
law, as amended by chapter four hundred ninety-eight of the laws
of nineteen hundred sixty-six, is hereby repealed, and subdivision
one of section one hundred thirty-three of such law, as amended
by chapter nine hundred seventy-five of the laws of nineteen hun-
dred sixty-six, is hereby amended by adding thereto a new para-
graph to be paragraph d, and to read as follows:
  d. any employment in institutions in the department of mental
hygiene.
 *So in original. [Evidently should r ead " o n " ] .
  t N O TE .— Thi s act was prepared under the direction of the New York State
Department of Labor and was introduced a t its request.
294]                    L A W S OF N E W YORK,           1967                         987

    § 3. Subdivision three of section one hundred thirty-three of
 such law, as amended by chapter four hundred ninety-eight of the
 laws of nineteen hundred sixty-six, is hereby repealed, and para-
 graph d of subdivision three of section one hundred thirty-three
 of such law, as amended by chapter nine hundred seventy-five of
 the laws of nineteen hundred sixty-six, is hereby amended to read
 as follows:
   d. penal or correctional institutions, [ o r institutions under the
 jurisdiction of the department of mental hygiene] if such employ-
 ment relates to the custody or care of prisoners or inmates[. This
paragraph shall not apply to student nurses over seventeen years
 of age while regularly enrolled for training in a school for nursing
maintained in an institution in the department of mental hygiene
 when receiving supervised training on medical or surgical w a r d s ] ;
   § 4, Subdivision two of section one hundred ninety-six, and
section one hundred ninety-six-e, and section one hundred ninety-
eight of such law, as amended by chapter nine hundred eighty-nine
of the laws of nineteen hundred sixty-six, are hereby repealed.
   § 5. Subdivision four of section one hundred ninety-nine-b of
such law, as added by chapter four hundred ninety-seven of the
laws of nineteen hundred sixty-six, is hereby renumbered to be
subdivision three of section one hundred ninety-eight.
   § 6. Section four hundred thirty of such law, as amended by
chapter fifty-two of the laws of nineteen hundred sixty-six, is hereby
repealed.
   § 7. Section four hundred seventy-one of such law, as amended
by chapter six hundred fifty-seven of the laws of nineteen hundred
thirty-eight, is hereby amended to read as follows:
   § 471. Rules [; state standard building code]. The board of
standards and appeals shall make rules to carry out the provisions
of this article. Such rules shall be the minimum standard required
and shall supersede any special law or local ordinance inconsistent
therewith, and no local ordinance inconsistent therewith shall be
adopted, but nothing herein contained shall prevent the enactment
by local ordinance of additional requirements and restrictions.
Such rules of the board of standards and appeals [shall constitute
the "state standard building c od e" ] for the construction [ a n d ] ,
equipment and maintenance of places of public assembly, shall be
subject to the procedure set forth in sections twenty-nine and thirty
of this chapter, may be limited in their application to certain
classes of buildings or to the conditions under which they are oper-
ated, and some or all of them may apply only to those buildings or
places to be constructed, maintained or conducted in the future.
Such rules shall have the force and effect of law and be enforced
in the same manner as the provisions of this chapter.
   § 8. This act shall take effect September first, nineteen hundred
sixty-sevsn.
           — Matter in italics is ne w ; matter in brackets t } is old law to be omitted.
1014                  LAWS OF N E W YORK, 1967                         [CHAP .

the membership corporations law, upon the filing in the office of
the department of state, within sixty days after this act takes effect,
a copy of such certificate of incorporation, heretofore filed in the
office of the clerk of the county of Oneida, and duly certified by
said clerk, and the payment by said corporation to said department
of state of the fee thereof as hereinafter prescribed.
   § 2. Upon payment by said corporation to the department of
state of the state of New York of the total sum of forty dollars as
the fee therefor, and delivery to the secretary of state for filing of
a copy of the certificate of incorporation of said Rescue Mission of
Utica, New York, duly certified by the clerk of the county of
Oneida, the secretary of state of the state of New York shall file
said certificate of ineorporation and thereupon said Rescue Mission
of Utica, New York shall, in all respects, be a duly organized and
existing membership corporation with the same force and effect
as if the certificate of incorporation had been filed in the depart-
ment of state on the first day of September, nineteen hundred
five.
  § 3. This act shall take effect immediately.




                           CHAPTER 310
AN ACT to amend the labor law, in relation to damages for failure to pay
                     wages and minimum wages
Became a law April 18, 1967, with the approval of the Governor. Passed by
               a majority vote, three-fifths being present
  The People of the State of New York, represented   in Senate   and   Assembly,
do enact as follows:

   Section 1. Section one hundred ninety-eight of the labor law, as
last amended by chapter five hundred forty-eight of the laws of
nineteen hundred sixty-six, is hereby amended by adding thereto
a new subdivision, to be subdivision one-a to read as follows:
   1-a. In any action instituted upon a wage claim by an employee
or the commissioner in which the employee prevails, the court shall
allow such employee reasonable attorney's fees and, upon a finding
that the employer's failure to pay the wage required by this article
was willful, an additional amount as liquidated damages equal to
twenty-five percent of the total amount of the wages found to be
due.
   § 2. Subdivisions one and two of section six hundred sixty-three
of such law, as added by chapter six hundred nineteen of the laws
of nineteen hundred sixty, subdivision two thereof having been
amended by chapter four hundred forty of the laws of nineteen
hundred sixty-one, are hereby amended to read as follows:
311]                   LAWS OP N E W YOKK,              1967                      1015

      By employee. If any employee is paid by his employer leas
than the wage to which he is entitled under the provisions of this
article, he may recover in a civil action the amount of any such
underpayments, together with costs and such reasonable attorney's
fees as may be allowed by the court, and if such underpayment was
willful, an additional amount as liquidated damages equal to
twenty-five percent of the total of such underpayments found to be
due him and any agreement between him and his employer to work
for less than such wage shall be no defense to such action.
      By commissioner. On behalf of any employee paid less than
the wage to which he is entitled under the provisions of this
article, the commissioner may bring any legal action necessary
to collect such claim, and the employer shall be required to pay the
costs and if such underpayment was willful, an additional amount
as liquidated damages equal to twenty-five percent of the total of
such underpayments found to be due him.
   § 3. This act shall take effect October first, nineteen hundred
sixty-seven.




                             CHAPTER 311
AN ACT to amend the village law, in relation to issuance of summons in blank
  t o police officers or other designated village personnel in certain cases

Became a law April 18, 1967, with the approval of the Governor. Passed by
                a majority vote, three-fifths being present

  The People of the State of New York, represented         in Senate   and     Assembly,
do enact as follows:

  Section 1. The village law is hereby amended by inserting therein
a new section, to be section one hundred eighty-a, to read as follows:
   § 180-a. Power of police justice to issue summons in blank in
certain cases. The police justice upon the request of the board of
trustees is empowered to prepare and issue summons in blank,
attested in the name of the police justice, to members of the police
force and to such persons within a village department whom the
board of trustees of such village shall designate by resolution,
who shall act as officers of the police court in case of violation of
a rule or regulation of such department or an ordinance of the
village affecting such department, which summons when filled in
and countersigned by such officer, and served upon the person to
whom addressed, shall have the same force and effect and be sub-
ject to the same penalties for disregard thereof as if individually
and directly issued by the police justice attesting the same.

   § 2. This act shall take effect immediately.
            — Matter in italics is new; matter in brackets [ ] is old law to be omitted.
NY LEGIS 397 (2021), 2021 Sess. Law News of N.Y. Ch. 397 (S. 858) (McKINNEY’S)




                             2021 Sess. Law News of N.Y. Ch. 397 (S. 858) (McKINNEY’S)


                                 McKINNEY’S 2021 SESSION LAW NEWS OF NEW YORK

                                                     244th LEGISLATURE

                                        Additions are indicated by Text; deletions by
                                                            Text.
                                               Vetoes are indicated by Text ;
                                                stricken material by Text .


                                                       CHAPTER 397
                                                          S. 858


                                         Approved and effective August 19, 2021


                                  AN ACT to amend the labor law, in relation to wage theft

               The People of the State of New York, represented in Senate and Assembly, do enact as follows:


                                            << Note: NY LABOR §§ 193, 194 >>


Section 1. Legislative findings. Article 6 of the labor law, and sections 193 and 198(3) in particular, reflects New York’s
longstanding policy against the forfeiture of earned but undistributed wages. The purpose of this remedial amendment is to
clarify that: (a) the unauthorized failure to pay wages, benefits and wage supplements has always been encompassed by the
prohibitions of section 193, see, e.g., Ryan v Kellogg Partners Inst. Servs., 19 N.Y. 3d 1, 16 (2012) (correctly holding that
employer’s neglect to pay sum that constitutes a “wage” violated section 193); and (b) consistent with established principles
of statutory construction, section 193 should be harmonized with section 198(3)’s guarantee that “All employees shall have
the right to recover full wages, benefits and wage supplements and liquidated damages.” A wage is either owed or it is not.
Employers have a statutory duty to provide employees with enough information to know how their employment
compensation is calculated. The legislature thus finds that it has a responsibility to harmonize these two sections of the labor
law to clarify for the courts once and for all that wage theft remains completely and without exception in violation of statute
and all employees are entitled to full wages, benefits and wage supplements earned.



                                            << Note: NY LABOR §§ 193, 194 >>


§ 2. This act shall be known and may be cited as the “No wage theft loophole act”.



§ 3. Section 193 of the labor law is amended by adding a new subdivision 5 to read as follows:


                                                  << NY LABOR § 193 >>

5. There is no exception to liability under this section for the unauthorized failure to pay wages, benefits or wage

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NY LEGIS 397 (2021), 2021 Sess. Law News of N.Y. Ch. 397 (S. 858) (McKINNEY’S)



supplements.



§ 4. Subdivision 3 of section 198 of the labor law, as amended by chapter 2 of the laws of 2015, is amended to read as
follows:


                                                  << NY LABOR § 198 >>

3. Notwithstanding any other provision of law, an action to recover upon a liability imposed by this article must be
commenced within six years. The statute of limitations shall be tolled from the date an employee files a complaint with the
commissioner or the commissioner commences an investigation, whichever is earlier, until an order to comply issued by the
commissioner becomes final, or where the commissioner does not issue an order, until the date on which the commissioner
notifies the complainant that the investigation has concluded. Investigation by the commissioner shall not be a prerequisite to
nor a bar against a person bringing a civil action under this section. All employees shall have the right to recover full wages,
benefits and wage supplements and liquidated damages accrued during the six years previous to the commencing of such
action, whether such action is instituted by the employee or by the commissioner. There is no exception to liability under
this section for the unauthorized failure to pay wages, benefits or wage supplements.



§ 5. This act shall take effect immediately.

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